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                                           April 11, 2023
By ECF
Hon. Analisa Torres
U.S. District Court
Southern District of New York

Re:    SEC v. Ripple Labs, Inc., No. 20-cv-10832 (AT) (SN)

Dear Judge Torres:

Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this notice of
supplemental authority in further support of its pending Motion for Summary Judgment (D.E. 625,
640). On April 7, 2023, a District of Massachusetts court issued an opinion granting the SEC’s
motion for summary judgment, and denying defendant’s cross-motion for summary judgment. SEC
v. Commonwealth Equity Servs., LLC, No. 1:19-cv-11655, 2023 WL 2838691 (D. Mass. Apr. 7, 2023)
(attached as Exhibit 1). In Commonwealth, the court found that defendant violated negligence-based
provisions of the Investment Advisers Act of 1940 (“Advisers Act”) relating to its failures to
disclose certain conflicts of interest. In doing so, the court rejected a due process affirmative
defense alleging “that the SEC failed to provide [defendant] with fair notice of the disclosure
obligations asserted in the complaint.” Id. at *9

Like the Defendants here, the Commonwealth defendant premised its “fair notice” defense on Upton v.
SEC, 75 F.3d 92 (2d Cir. 1996). Commonwealth, 2023 WL 2838691, at *9. Invoking Upton, the
Commonwealth fair notice defense alleged that the SEC had long been aware of defendant’s practices
at issue, “expressed concerns…and considered rulemaking relating to” such practices, but never
adopted specific rules requiring the types of disclosures at issue. Id. The court correctly
distinguished Upton, observing that Upton’s defendant had “complied with the literal terms of the
[SEC] Rule at all times.” Id. (citing Upton, 75 F.3d at 94). The Commonwealth court held that, unlike
in Upton, its defendant received fair notice by virtue of 50-year old Supreme Court precedent
regarding Advisers Act disclosure obligations. Id. (discussing SEC v. Capital Gains Research Bureau,
Inc., 375 U.S. 180 (1963)).

Commonwealth supports the SEC’s summary judgment motion for various reasons. First, its holding
that longstanding Supreme Court precedent can provide fair notice is identical to the SEC’s position
in this case: that Howey and its progeny provided Defendants with sufficient fair notice to defeat
their constitutional defense. See D.E. 640 at 70-71. Next, Commonwealth adds another link to the
unbroken chain of district court decisions rejecting fair notice defenses, on summary judgment, in
SEC enforcement actions. See D.E. 640 at 71-73; D.E. 730 at 28-30. Further, Commonwealth
rejected a fair notice defense, on summary judgment, even where the undisputed facts showed that
the SEC had “been aware of [the practices at issue] for over two decades,” and had not adopted
rules addressing that specific conduct. Commonwealth, 2023 WL 2838691, at *9.
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Accordingly, Commonwealth provides additional authority for rejecting Defendants’ fair notice defense
and granting the SEC’s motion for summary judgment.


                                                      Respectfully submitted,

                                                      _/s/Benjamin J. Hanauer________

                                                      Benjamin J. Hanauer
                                                      Counsel for Plaintiff Securities and Exchange
                                                      Commission




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